        Case 1:21-mj-00233-RMM Document 1-1 Filed 02/13/21 Page 1 of 8




                                   STATEMENT OF FACTS

        I, Valyncia Joachim, am a Special Agent with the Federal Bureau of Investigation. I have
been in this position since October of 2014. I am currently assigned to the Washington Field Office,
tasked with investigating criminal activity in and around the United States Capitol grounds. Since
I became involved in this investigation on January 6, 2021, I have conducted interviews, reviewed
public tips, reviewed publicly available photos and video, and reviewed relevant documents,
among other things.

                                           Background

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police (USCP). Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification are allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building (USCB), and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



                                                 1
         Case 1:21-mj-00233-RMM Document 1-1 Filed 02/13/21 Page 2 of 8




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            Assault of Officer A.W. at the U.S. Capitol

        On January 6, 2021, during the above-referenced events, Officer A.W. (A.W.) of the
Washington D.C. Metropolitan Police Department (MPD) was working an evening shift in his
official capacity. During that shift, A.W. was directed to report to the USCB to assist the USCP in
their duties to maintain security of the USCB.

       Between 4:00 p.m. and 5:00 p.m., A.W. walked through the interior tunnel of the USCB
and assumed a post in an archway that provided access to the building’s lower west terrace. The
approximate location of A.W. is denoted below by the red circle.




        On or about January 12, 2021, A.W. was interviewed by MPD as part of an investigation
into assaults of officer occurring at the U.S. Capitol on January 6, 2021. During the interview,
A.W. advised that after he was pulled into the crowd, he was kicked, struck with poles, and
stomped on by several individuals. Additionally, Officer A.W. recalled having his helmet ripped
off his head and being stripped of his CDU baton, gas mask (later recovered), and MPD issued
cellular phone. A.W. was also maced once his mask was ripped off. At some point during the
assault, A.W. was able to retrieve his gas mask and one individual, prevented the rioters from
further assaulting A.W., allowed him to get on his feet and head back to the tunnel area. Once
A.W. was back in the tunnel, another officer realized A.W. was bleeding from his head. A.W. was
subsequently escorted to the east side of the USCB before being taken to the hospital. At the
hospital, A.W. was treated for a laceration on his head which required two staples to close. A.W.
also sustained a bruise to his right elbow.

                                                 2
        Case 1:21-mj-00233-RMM Document 1-1 Filed 02/13/21 Page 3 of 8




                                   Video Footage of Assault of A.W.

        Prior to investigating the assault of A.W., FBI investigators were already investigating the
assault of fellow MPD Officer B.M. (“B.M”). Minutes before A.W. was pulled into the crowd of
rioters, B.M. was also assaulted at the USCB lower west terrace tunnel entrance. As FBI
investigators analyzed social media content related to the assault of B.M. and other MPD officers,
investigators discovered video footage and photographs of an individual, subsequently identified
as Clayton Ray Mullins (“MULLINS”), participating in the assault of A.W. In the footage,
MULLINS was observed wearing a dark colored jacket, black gloves and light blue jean pants.

         Numerous videos and photographs of MULLINS assaulting A.W. were posted on Twitter,
primarily under the hashtag #seditionhunters. In addition, the hashtag #slickback began trending
in relation MULLINS and the slicked back style in which he wore his hair.




                       Source URL: https://twitter.com/End_Silence_Now/status/1351254542873145344?s=20



        Videos documenting MULLINS’ assault of A.W. were also posted on YouTube. One
YouTube video shows MULLINS leaning over a handrail making multiple attempts to grab A.W.’s
leg. Once MULLINS successfully secured his grip on A.W.’s right foot, he began violently pulling
on it, ultimately leading to A.W. being dragged down the stairs at the USCB lower west terrace
tunnel entrance.




                                                        3
            Case 1:21-mj-00233-RMM Document 1-1 Filed 02/13/21 Page 4 of 8




                                         Source URL: https://youtu.be/aEGthdTzedk



        Similar footage was observed on the body worn camera (BWC) footage of multiple MPD
officers. In reviewing the BWC video footage of MPD Officer C.M., your affiant observed the
image below of A.W. wearing a full MPD-issued uniform and neon jacket as MULLINS grabbed
his leg. In the video, at least one other officer makes multiple attempts to pull A.W. away from
MULLINS, essentially engaging in a battle of tug of war. 1




                                             Source: MPD Officer C.M. BWC video footage



1
    This image was redacted in part because Rosanne Boyland’s body is visible.

                                                            4
        Case 1:21-mj-00233-RMM Document 1-1 Filed 02/13/21 Page 5 of 8




       Your affiant also reviewed the BWC of MPD Officer D.P., and observed the following
image of MULLINS a seconds later, as he continued to pull the leg of A.W.




                                       Source: MPD Officer D.P. BWC video footage


       On or about January 28, 2021, a clearer picture of MULLINS, with A.W.’s leg within his
grip, was posted on Twitter with the user citing “NYT” as his source.




                       Source URL: https://twitter.com/sheldonchang/status/1355014884732375041?s=20




                                                       5
        Case 1:21-mj-00233-RMM Document 1-1 Filed 02/13/21 Page 6 of 8




                                        Identification of Mullins

       On or about January 25, 2021, a lead directed your Affiant to a Kentucky driver’s license
for Clayton Ray Mullins. Based upon the biographical data from MULLINS’ driver’s license, a
financial account was identified for MULLINS at FNB Bank, Inc. (FNB). On or about February
5, 2021, investigators interviewed an FNB employee (W-1) who has an approximate 30-year
banking relationship with MULLINS. W-1 was shown the unmarked photograph below, which
captured MULLINS at the lower west terrace of the USCB on January 6, 2021.




                      Source URL: https://twitter.com/SimonWGhost/status/1349959991889805312


     W-1 identified the individual in the photograph as Clayton Mullins. W-1 also advised
MULLINS was in the FNB bank lobby the day before, on February 4, 2021.

       After speaking with W-1, your affiant obtained surveillance video footage from FNB. The
footage depicted MULLINS standing at a teller station in the lobby of FNB on February 4, 2021.
On or about February 11, 2021, W-1 was shown the below image of MULLINS taken from the
FNB surveillance video. W-1 identified the individual in the photograph as Clayton Mullins.




                                                        6
        Case 1:21-mj-00233-RMM Document 1-1 Filed 02/13/21 Page 7 of 8




                       Source: FNB Bank, Inc. security surveillance footage from February 4, 2021


        Based on the foregoing, your affiant submits that there is probable cause to believe that
MULLINS violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault or interfere
with any person designated in section 1114 of this title 18 while engaged in or on account of the
performance of official duties. Persons designated within section 1114 include any person
assisting an officer or employee of the United States in the performance of their official duties.

         Your affiant submits there is also probable cause to believe that MULLINS violated 18
U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

         Your affiant submits there is also probable cause to believe that MULLINS violated 18
U.S.C. § l752(a)(1), (2), and (4), which make it a crime, with respect to subdivision (1), to
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
with respect to subdivision (2) to knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or disruptive conduct
in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,
in fact, impedes or disrupts the orderly conduct of Government business or official functions; and
with respect to subdivision (4) to knowingly engage in any act of physical violence against any
person or property in any restricted building or grounds; or attempt or conspire to do so. For

                                                           7
        Case 1:21-mj-00233-RMM Document 1-1 Filed 02/13/21 Page 8 of 8




purposes of Section 1752 of Title 18, a restricted building includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

       Finally, your affiant submits there is probable cause to believe that MULLINS violated 40
U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly engage in an act of
physical violence in the Grounds or any of the Capitol Buildings.

     As such, your affiant respectfully requests that the court issue an arrest warrant for
MULLINS. The statements above are true and accurate to the best of my knowledge and belief.



                                                     Respectfully Submitted,



                                                     _________________________________
                                                     Valyncia Joachim
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of February 2021.




                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE




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